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              EXHIBIT 1
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From:            Medrano, Ryan
To:              Joseph Ricci
Subject:         Re: K-1 Question
Date:            Monday, October 7, 2024 8:38:51 AM


I will be home around 230pm ET and will call you then.


       On Oct 6, 2024, at 2:33 pm, Joseph Ricci <jricci@ricciandcompany.com> wrote:


       ﻿ Yea we can. Let’s talk tomorrow. I’m out for my birthday dinner!
        Sent from my iPhone


             On Oct 6, 2024, at 3:07 PM, Medrano, Ryan
             <Ryan.Medrano@giulianipartners.com> wrote:


             ﻿
             Hello. Please update the tax return with this info for Dennison
             Young. I just saw it.

             Can we refile?

             Also, we finally have a bank acct and can start making payments Oct
             12 if our clients wire us the fees they owe from the last 2 months.




             Ryan Medrano

             Giuliani Partners LLC

             C. 646.509.6069


             From: Nicholas Young <nicholas.y@gmail.com>
             Sent: Thursday, September 26, 2024 1:48 PM
             To: Medrano, Ryan <Ryan.Medrano@giulianipartners.com>
             Subject: Re: K-1 Question

             Hey Ryan, sorry for the delay, Ive been swamped.  
             The name of the trust is: DENNISON YOUNG, JR. 2016
             IRREVOCABLE TRUST
             And the EIN is: XX-XXXXXXX

             Let me know if you need more.
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      Regards,
      Nick

      On Thu, Sep 19, 2024 at 3:45 PM Medrano, Ryan
      <Ryan.Medrano@giulianipartners.com> wrote:
       Thank you


             On Sep 19, 2024, at 10:07 AM, Nicholas Young
             <nicholas.y@gmail.com> wrote:


             ﻿ Apologies, I will send this to you shortly today
              Sent from my iPhone


                   On Sep 13, 2024, at 17:16, Nicholas
                   Young <nicholas.y@gmail.com> wrote:


                   ﻿Apologies, can we make it 545?

                   Nick

                   Sent from my iPhone


                          On Sep 13, 2024, at 16:33,
                          Nicholas Young
                          <nicholas.y@gmail.com>
                          wrote:


                          ﻿Yep, EST. Thanks Ryan
                           Sent from my iPhone


                                On Sep 13, 2024,
                                at 16:28,
                                Medrano, Ryan
                                <Ryan.Medrano@giulianipartners.com>
                                wrote:


                                ﻿
                                Yes. I moved
                                home so I’m in
                                St. Louis now.
                                You are on
                                Eastern Time
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                            yes? Will call
                            you at 530 ET.
                            Thanks.


                                 On
                                 Sep
                                 13,
                                 2024,
                                 at
                                 3:24 PM,
                                 Nicholas
                                 Young
                                 <nicholas.y@gmail.com>
                                 wrote:


                                 ﻿ Hey
                                  Ryan,
                                  does
                                  530pm
                                  work
                                  today?
                                  Nick

                                 Sent
                                 from
                                 my
                                 iPhone


                                       On
                                       Sep
                                       13,
                                       2024,
                                       at
                                       15:45,
                                       Medrano,
                                       Ryan
                                       <Ryan.Medrano@giulianipartners.com>
                                       wrote:


                                       ﻿
                                       Thank
                                       you
                                       Bruce.
                                       My
                                       apologies
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                                     as
                                     I
                                     do
                                     this
                                     part
                                     time
                                     now
                                     and
                                     forgot
                                     the
                                     process.

                                     Hello
                                     Nick,
                                     can
                                     you
                                     do
                                     a
                                     5-
                                     minute
                                     call
                                     later
                                     today
                                     or
                                     tomorrow?
                                     Tell
                                     me
                                     what
                                     works
                                     for
                                     you
                                     and
                                     I
                                     will
                                     call.
                                     Thank
                                     you.




                                     Ryan
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                                     Medrano

                                     Giuliani
                                     Partners
                                     LLC

                                     C.
                                     646.509.6069


                                     From:
                                     Bruce
                                     Margulies
                                     <brucem@glcpas.com>
                                     Sent:
                                     Friday,
                                     September
                                     13,
                                     2024
                                     8:20
                                     AM
                                     To:
                                     Medrano,
                                     Ryan
                                     <Ryan.Medrano@giulianipartners.com>
                                     Cc:
                                     Nicholas
                                     Young
                                     (nicholas.y@gmail.com)
                                     <nicholas.y@gmail.com>
                                     Subject:
                                     RE:
                                     K-
                                     1
                                     Question


                                     Hi
                                     Ryan,



                                     You
                                     need
                                     to
                                     discuss
                                     with
                                     Nick.
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                                     NEW
                                     MAILING
                                     ADDRESS
                                     EFFECTIVE
                                     1/1/24




                                     Bruce
                                     Margulies,
                                     CPA

                                     Goldstein
                                     Lieberman
                                     &
                                     Company
                                     LLC

                                     225
                                     Brae
                                     Blvd.,
                                     Suite
                                     200

                                     Park
                                     Ridge,
                                     NJ
                                     07656

                                     (201)
                                     512-
                                     5700

                                     (201)
                                     512-
                                     5735
                                     Direct

                                     (201)
                                     512-
                                     5701
                                     Fax

                                     brucem@glcpas.com
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                                     <image001.jpg>

                                     The
                                     information
                                     contained
                                     in
                                     this
                                     message
                                     is
                                     intended
                                     for
                                     the
                                     use
                                     of
                                     the
                                     individual
                                     or
                                     entity
                                     named
                                     herein.
                                     If
                                     the
                                     reader
                                     of
                                     this
                                     message
                                     is
                                     not
                                     the
                                     intended
                                     recipient,
                                     you
                                     are
                                     hereby
                                     notified
                                     that
                                     any
                                     dissemination,
                                     distribution,
                                     copying
                                     or
                                     use
                                     of
                                     the
                                     information
                                     contained
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                                     in
                                     this
                                     communication
                                     is
                                     strictly
                                     prohibited.
                                     If
                                     you
                                     received
                                     this
                                     communication
                                     in
                                     error,
                                     please
                                     immediately
                                     notify
                                     this
                                     firm
                                     via
                                     e-
                                     mail
                                     and
                                     delete
                                     the
                                     e-
                                     mail
                                     message
                                     sent
                                     to
                                     you
                                     in
                                     error.
                                     Thank
                                     you.




                                     From:
                                     Medrano,
                                     Ryan
                                     <Ryan.Medrano@giulianipartners.com>
                                     Sent:
                                     Thursday,
                                     September
                                     12,
                                     2024
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                                      4:56
                                      PM
                                      To:
                                      Bruce
                                      Margulies
                                      <brucem@glcpas.com>
                                      Subject:
                                      K-
                                      1
                                      Question



                                      Hello
                                      Bruce.
                                      Tell
                                      me
                                      if
                                      you
                                      have
                                      time
                                      for
                                      a
                                      5-
                                      minute
                                      conversation.
                                      My
                                      accountants
                                      asked
                                      me
                                      to
                                      speak
                                      to
                                      you
                                      regarding
                                      Denny's
                                      K-
                                      1.
                                      I
                                      am
                                      hoping
                                      you
                                      are
                                      handling
                                      his
                                      estate.
                                      Tell
                                      me
                                      a
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                                      good
                                      time
                                      to
                                      try
                                      you
                                      either
                                      today
                                      or
                                      tomorrow.
                                      Thank
                                      you.




                                      Ryan
                                      Medrano

                                      Giuliani
                                      Partners
                                      LLC

                                      C.
                                      646.509.6069




       --
       ___________________

       Nicholas P. Young
       nicholas.y@gmail.com
       ___________________
